                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN

 DONNA SCHUTTE,


                 Plaintiff,

    v.
                                                          Case No.: 21-CV-204
 CIOX HEALTH, LLC,
 ABC INSURANCE CO.,
 PROHEALTH CARE, INC.,
 and DEF INSURANCE CO.,

                 Defendants.


                       NOTICE OF WITHDRAWAL OF COUNSEL


         PLEASE TAKE NOTICE that effective September 2, 2022, I will no longer be
associated with Kirkland & Ellis LLP. Jay P. Lefkowitz and Gilad Bendheim from Kirkland
& Ellis LLP will continue to represent Defendant Ciox Health, LLC.

         Counsel for Ciox Health, LLC hereby request that the Clerk of Court remove the
following email address from its ECF notice in this action: kelsey.davis@kirkland.com.
         Dated this 31st day of August, 2022.


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